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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           DEL RIO DIVISION

United States of America,                   §
                                            §
                    Plaintiff,              §
                                            §
vs.                                         §    Cause No. DR-21-M-1436-(1)-CW
                                            §
Steve Trevino,                              §
                                            §
                    Defendant.              §


                 ORDER OF DETENTION PENDING TRIAL

      In accordance with the Bail Reform Act of 1984, 18 U.S.C. § 3142 (f), a

detention hearing was held in conjunction with a preliminary examination on August

31, 2021. The Court finds that there is probable cause to believe Defendant

committed the crime of which he stands accused, i.e., of attempting to illegally export

eleven handguns into Mexico in violation of 18 U.S.C. § 554. Detention without

bond is authorized in this case since the Court finds that the facts alleged involve the

possession of a handgun. 18 U.S.C. § 3142(f)(E). The following facts require the

detention of Defendant without bond pending trial in this case.

                                         I.
                                   Finding of Fact

      Credible information in the form of testimony from Special Agent Jesus Flores

of Homeland Security Investigations establishes probable cause as well as clear and

convincing evidence that Defendant poses a danger to others. Special Agent Flores

testified that on August 21, 2021, Defendant was arrested going outbound at the

Eagle Pass Port of Entry in Maverick County. The vehicle he was driving contained
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the handguns. Defendant is not a licensed gun dealer.

      Special Agent Flores made an in-court identification of Defendant.

      Maverick County is in the Western District of Texas.

                                       II.
                                   DETENTION

      This Court takes judicial notice that there have been well more than 150,000

drug and cartel related homicides in Mexico since 2006 when former Mexican

President Calderon began his drug offensive. See https://www.cfr.org/Global-

Conflict-Tracker/Conflict/Criminal-Violence-Mexico (last visited August 26, 2021.)

Credible ATF estimates are that the vast majority of the murders were committed with

firearms and munitions illegally exported from the United States. Thus, the Court

concludes that Defendant’s criminal activity, i.e., exportation of eleven (11) handguns

into Mexico, inherently constitutes a very real and serious danger. Considering this,

the Court finds by clear and convincing evidence that Defendant is a danger to others

and that there is no condition or combination of conditions that will reasonably ensure

the safety of others.

      Accordingly, the Court hereby ORDERS that Defendant be DETAINED

without bond.

                                       III.
                          Direction Regarding Detention

      Defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the

extent practical, from persons awaiting or serving sentences or being held in custody

pending appeal. Defendant shall be afforded a reasonable opportunity for private
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consultation with defense counsel. On order of any Court of the United States or on

request of an attorney for the Government, the person in charge of the corrections

facility shall deliver the Defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.

      SIGNED and ENTERED on August 31, 2021.



                                      ___________________________________

                                      COLLIS WHITE
                                      UNITED STATES MAGISTRATE JUDGE
